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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                  )
 SHANEL PROCTOR et al.,                           )
                                                  )
                Plaintiffs,                       )
                                                  )
                v.                                ) Civil Action No. 18-701 (TNM)
                                                  )
 DISTRICT OF COLUMBIA,                            )
                                                  )
                Defendant.                        )
                                                  )
                                                  )


             PLAINTIFFS’ CROSS-MOTION FOR SUMMARY JUDGMENT

       Plaintiffs, by and through their undersigned counsel, respectfully move this Court for

summary judgment on Count III of Plaintiffs’ Third Amended Complaint, which seeks injunctive

relief against Defendant, the District of Columbia (the “District”). See Fed. R. Civ. P. 56. As set

forth in the accompanying memorandum of points and authorities, summary judgment is

appropriate because Defendant’s December 13, 2019 Protocol for the Disposition of Property

Found on Public Space and Outreach to Displaced Persons (“2019 Protocol”) is facially

unconstitutional as a matter of law under the Fourth and Fifth Amendments. The 2019 Protocol

constitutes the District’s official municipal policy, for which they are liable under 42 U.S.C.

§ 1983. A proposed order is attached.
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Dated: April 17, 2020               Respectfully submitted,

                                    /s/ Victor D. Ban

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                      FOR THE DISTRICT OF COLUMBIA


                                    )
SHANEL PROCTOR et al.,              )
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           Plaintiffs,              ) Civil Action No. 18-701 (TNM)
                                    )
           v.                       )
                                    )
DISTRICT OF COLUMBIA,               )
                                    )
           Defendant.               )
                                    )
                                    )


PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
              CROSS-MOTION FOR SUMMARY JUDGMENT


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                                        INTRODUCTION

       On December 13, 2019, the District adopted a revised encampment clearing protocol,

which memorialized the District’s practice of destroying homeless encampment residents’

unattended property. That revised protocol is facially unconstitutional as a matter of law under

the Fourth and Fifth Amendments—each of which provides a sufficient basis to enjoin this

policy—and the Court should grant summary judgment in Plaintiffs’ favor.

       The 2019 Protocol violates the Fourth Amendment because it grants the District

unbridled discretion to destroy unattended property of homeless encampment residents,

regardless of whether that property meets any objective indicia of abandonment. As a matter of

law, the District cannot adopt a policy that declares abandoned and authorizes the immediate

destruction of all unattended property, no matter how much notice the District provides. In

addition, such a harsh policy is not necessary to further any legitimate government interest.

       The 2019 Protocol violates the Fifth Amendment because it authorizes the destruction of

property without any meaningful notice or opportunity to be heard. The Protocol’s notice

requirements are not reasonably certain to inform residents that their belongings could be

summarily destroyed, and the Protocol contains no safeguards to prevent such a total and

irreversible deprivation of their property.

       The Court should therefore grant Plaintiffs’ cross-motion for summary judgment to

declare unconstitutional and enjoin this official municipal policy. See 42 U.S.C. 1983.




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                                   FACTUAL BACKGROUND

        On December 13, 2019, the District abruptly amended the Protocol, which governs its

practice of clearing personal property from sites it refers to as homeless encampments. Pls.’

SUMF ¶ 3. For the preceding three years, the District had conducted encampment clearings,1

which Plaintiffs challenge as unconstitutional, under a November 21, 2016 version of the

Protocol. Id. ¶ 2.

        The District explained that updating the Protocol was necessary in order to conform the

operative Protocol’s language to the District’s actual encampment clearing practices. Id. ¶ 4. This

admission is stunning not only because the District admits that its encampment clearing practices

did not align with its written Protocol for years, but also because it reveals the District’s puzzling

decision to codify its unconstitutional practices rather than remedy them.

        Instead of addressing the arbitrary and scarce enforcement of the District’s already

minimal and inadequate protections, the District did away with those protections altogether. The

only provisions the 2019 Protocol maintains to prevent the destruction of unattended belongings

is a requirement “to post notices/signs conspicuously throughout the immediate vicinity of the

public spaces to be cleaned” fourteen days “prior to the planned action to conduct a cleanup,”

and an unenforceable promise to conduct informal outreach efforts to inform individuals about

encampment clearings. 2019 Protocol at 4, 9 (Pastan Decl. Ex. 1); Pls.’ SUMF ¶¶ 8, 17. The

2019 Protocol removes previous language declaring that a notice is invalid “[t]wenty-eight (28)

days after it is posted” and restricts a previous requirement to provide a final notice “at least

forty-eight (48) hours before” any clearing to apply only to a rescheduled clearing. 2016 Protocol




1
 “Encampment clearing(s)” refers to the removal and/or disposition of property, including
personal property, from encampments by the District pursuant to the Protocol.


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at 6 (Pastan Decl. Ex. 2); 2019 Protocol at 5 (Pastan Decl. Ex. 1). The 2019 Protocol also

provides an exception for this 48-hour notice for an “Immediate Disposition,” which has no

notice requirements or protections. Pls.’ SUMF ¶ 15.

        The 2019 Protocol also removes a mandate that the District “shall not discard”

unattended items of obvious value, including operational bicycles, functional tents, and

identifications and replaces it with a statement that the District “will make reasonable efforts to

collect and store” certain “Eligible Property” in plain sight, including items of “obvious

importance” or “of apparent value.” Id. ¶¶ 11, 13. The 2019 Protocol adds new language

underscoring that it is has no obligation to store any item unless “requested to be stored by the

property’s owner by placement in such containers” before a clearing and that it “will not sort

through piles or collections of belongings, including items inside tents or containers,” to identify

items eligible for storage. Id. ¶ 12.

        But the amendments to the Protocol go even further, ultimately absolving the District of

any responsibility to fulfill even these minimal requirements by adopting a new declaration in the

2019 Protocol that all unattended property is subject to immediate destruction. The 2019

Protocol adds the following text: “All property that property-owners intend to keep should be

removed from the cleanup site prior to the posted cleanup time. Any property left on the cleanup

site is subject to removal and immediate disposal.” Id. ¶ 10. Additionally, the 2019 Protocol

changes the notice requirements from “A statement that any items not removed by the cleanup

deadline are subject to removal and disposal” to “Advisement that property left on site during the

cleanup time may be immediately destroyed.” Id. ¶ 7.

        The 2019 Protocol includes several additional provisions that grant unlimited discretion

to the District to decide what to destroy:




                                                  3
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   •   “Advisement that some unattended, non-hazardous property may be stored, in the

       District’s discretion, and information about how to retrieve any property taken to storage

       after a cleanup.” Id. ¶ 8.

   •   “Outreach workers shall also make clear to individuals experiencing homelessness that

       the only way to be sure property is not disposed of during a cleanup is to move the

       property from the cleanup site before the specified cleanup time.” Id.

   •   “Due to safety and other concerns, District officials will not sort through piles or

       collections of belongings, including items inside tents or containers, to identify Eligible

       Property. Only Eligible Property in plain sight, without manipulation, will be stored.

       Property-owners leave property on site during a cleanup at their own risk.” Id. ¶ 14.

       In short, rather than address the errors that plagued the implementation of the November

2016 Protocol, the District amended the Protocol to authorize wholesale destruction rather than

storage of even valuable unattended property (e.g., clean tents, bikes, medications, identification

documentation) and to grant officials unfettered discretion to determine what unattended

belongings can be destroyed during a clearing. The 2019 Protocol heightens the constitutional

infirmity of the already inadequate notice and storage opportunities by now declaring that no

notice or storage, beyond posting one sign fourteen days before a clearing, is needed before the

District exercises unbridled authority to summarily destroy its residents’ possessions.

                                          ARGUMENT

       Plaintiffs are entitled to summary judgment declaring unconstitutional the District’s

official municipal policy, as codified in its 2019 Protocol, and enjoining its implementation. See

Marshall v. Barlow’s, Inc., 436 U.S. 307, 325 (1978) (declaring that a statute was

unconstitutional and enjoining the statute’s enforcement accordingly).




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       Summary judgment is appropriate when “the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56. “A dispute over a material fact is ‘genuine’ if the ‘evidence is such that a reasonable

jury could return a verdict for the nonmoving party.’” Arrington v. United States, 473 F.3d 329,

333 (D.C. Cir. 2006) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)).

Additionally, “the substantive law will identify which facts are material. Only disputes over facts

that might affect the outcome of the suit under the governing law will properly preclude the entry

of summary judgment. Factual disputes that are irrelevant or unnecessary will not be counted.”

Id. (quoting Anderson, 477 U.S. at 248).

       There is no dispute about the express terms of the Protocol, as amended on December 13,

2019. These terms violate the Fourth Amendment, as explained in Part I, and Fifth Amendment,

as explained in Part II, as a matter of law. The District is liable under 42 U.S.C. 1983 for

adopting and enforcing this unconstitutional official municipal policy, as explained in Part III.

I.     The District’s 2019 Protocol Violates the Fourth Amendment.

       The Protocol violates the Fourth Amendment because it grants District officials unlimited

discretion to deem any and all unattended property during a clearing to be abandoned. It ignores

the Fourth Amendment’s protections for unattended property that is not abandoned, and it gives

the District complete discretion to determine what property can be seized.

       The Fourth Amendment protects the “right of people to be secure in their persons,

houses, papers, and effects, against unreasonable searches and seizures.” U.S. Const. amend. IV.

The reasonableness of a search or seizure “depends on all of the circumstances surrounding the

search or seizure and the nature of the search or seizure itself.” Skinner v. Ry. Labor Execs.’

Ass’n, 489 U.S. 602, 619 (1989) (quoting United States v. Montoya de Hernandez, 473 U.S. 531,

537 (1985)). “Thus, the permissibility of a particular practice is judged by balancing its intrusion


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on the individual’s Fourth Amendment interests against its promotion of legitimate governmental

interests. Id. (internal quotation marks omitted) (quoting Delaware v. Prouse, 440 U.S. 648, 654

(1976)).

        Although many challenges involve an individual search or seizure, a person subject to a

statute that authorizes unreasonable searches and seizures may bring a facial challenge under the

Fourth Amendment “seeking a declaration that the statute is unconstitutional and an injunction

barring its implementation.” Illinois v. Krull, 480 U.S. 340, 354 (1987). To prevail on such a

challenge, a plaintiff must show that “the law is unconstitutional in all of its applications.” Wash.

State Grange v. Wash. State Republican Party, 552 U.S. 442, 449 (2008). The U.S. Supreme

Court recently clarified that the standard must not be read literally; rather, the standard considers

“only applications of the statute in which it actually authorizes or prohibits conduct.” City of Los

Angeles v. Patel, 135 S. Ct. 2443, 2451 (2015) (internal quotation marks omitted). The “proper

focus of the constitutional inquiry is searches that the law actually authorizes, not those for

which it is irrelevant.” Id.

        The District’s 2019 Protocol is unconstitutional because it authorizes the immediate

destruction of unattended property protected by the Fourth Amendment, i.e., property that is not

abandoned (even if unattended) or hazardous. Prior to the amendments, the Protocol required

warning individuals that their unattended belongings may be subject to destruction during an

encampment clearing and mandated the temporary storage of certain, nonhazardous property.

2016 Protocol at 4 (Pastan Decl. Ex. 2). The 2019 Protocol, by contrast, declares that all

unattended belongings during a clearing are subject to immediate destruction and does not

mandate storage of any property. Pls.’ SUMF ¶ 10. These provisions are impermissible for two

reasons: (1) they eviscerate Fourth Amendment protections for unattended property that is not




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abandoned; and (2) they give the District unlimited discretion to determine what property can be

seized, even when there is no indicia of abandonment.2 Indeed, the 2019 Protocol would permit

wholesale destruction of valuable property even in the presence of the resident.

       The Protocol’s declaration that all unattended property is subject to immediate

destruction violates the Fourth Amendment’s protections against the unreasonable seizure of

unattended property that has not been abandoned. Proctor v. District of Columbia, 310 F. Supp.

3d 107, 114 (D.D.C. 2018) (citing Brown v. Muhlenberg Twp., 269 F.3d 205, 209 (3d Cir.

2001)); see also Soldal v. Cook Cty., Ill., 506 U.S. 56, 61–62 (1992); Lavan v. City of Los

Angeles, 693 F.3d 1022, 1024, 1027–31 (9th Cir. 2012). The 2019 Protocol, like the previous

Protocol, does not define abandonment or provide any guidance for District officials on how to

determine whether property is abandoned. Pls.’ SUMF ¶ 16. Abandonment is a quintessentially

factual inquiry, requiring objective determination of the “intent of the person who is alleged to

have abandoned” the property, based on “words spoken, acts done, and other objective facts.”

Proctor v. District of Columbia, No. 1:18-CV-00701 (TNM), 2018 WL 6181739, at *3 (D.D.C.

Nov. 27, 2018) (citing United States v. Thomas, 864 F.2d 843, 845–46 (D.C. Cir. 1989)). The

District cannot simply avoid its responsibilities under the Fourth Amendment to make an

abandonment determination by declaring that all unattended property is abandoned if not

removed by the time of a clearing.




2
  This is also not a case where “there is substantial ambiguity as to what conduct a statute
authorizes.” Patel, 135 S. Ct. at 2451. “Where a statute consists of extraordinarily elastic
categories, it may be impossible to tell whether and to what extent it deviates from the
requirements of the Fourth Amendment.” Id. (internal quotation marks omitted). There are no
elastic categories here: under the express terms of the Protocol, the District can destroy any
unattended property during an encampment clearing.



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       The 2019 Protocol states “that property left on site during the cleanup time may be

immediately destroyed.”3 Pls.’ SUMF ¶ 7. The District’s adoption of a policy that all unattended

property loses its Fourth Amendment protections, or that all unattended property is automatically

abandoned as of the beginning of a clearing, has no legal justification. See Kincaid v. City of

Fresno, No. 1:06-cv-1445 OWW SMS, 2006 WL 3542732, at *36 (E.D. Cal. Dec. 8, 2006).

       The Protocol is indistinguishable from facts in Kincaid. There, the city had “attempted to

justify its policies and practices by its rule that the property of the homeless that it seizes and

destroys is ‘abandoned’ and is therefore ‘trash.’” Id. Effectively, the city’s “rule” was that “if a

homeless person is not literally beside his or her property laying claim to it during a sweep, then

the City [may] deem[] that property to be abandoned, making the property ‘trash,’ which is then

destroyed.” Id. The Kincaid Court held that “[t]here is no legal justification for this rule which is

demeaning as it places no value on the homeless’ property and is not honest because the ‘rule’

purports to transmogrify obviously valuable property into trash.” Id.

       The Protocol’s Removal and Storage of Property provisions also violate the Fourth

Amendment because they grant District officials unlimited discretion to determine what is

abandoned during a clearing. See, e.g., Allinder v. State of Ohio, 808 F.2d 1180, 1188 (6th Cir.

1987) (statute unconstitutional where it “provide[d] too much discretion” to inspector); Marshall,

436 U.S. at 323 (statute unconstitutional where its grant of authority “to make warrantless

searches devolves almost unbridled discretion upon executive and administrative officers,

particularly those in the field, as to when to search and whom to search”); Krull, 480 U.S. at 359


3
  The Protocol repeats that broad discretion through several additional provisions declaring that
individuals leave any and all property at their own risk. Further, although the previous Protocol
required the District to store certain valuable belongings, the 2019 Protocol has no such
requirement. Rather, under the 2019 Protocol, the District reserves all discretion to decide what,
if anything, to store.


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(assuming Illinois Supreme Court correctly concluded “the statute failed to pass constitutional

muster solely because the statute vested State officials with too much discretion to decide who,

when, and how long to search”) (internal quotations omitted).

       Under the 2019 Protocol, District officials are empowered to destroy encampment

residents’ most valuable or obviously not abandoned belongings (e.g., if they told outreach

workers they still wanted their property, or if they left a sign indicating they still wanted their

belongings) with no recourse. At most, the 2019 Protocol promises that District officials “will

make reasonable efforts to collect and store” certain items only if those items are sitting in plain

sight on the street. Pls.’ SUMF ¶ 13. The same District officials have full discretion under the

Protocol to determine when “reasonable efforts” have been made.

       No amount of notice and outreach can cure the Protocol’s unconstitutional authorization

of District officials to immediately destroy belongings protected by the Fourth Amendment with

unlimited discretion. See United States v. James Daniel Good Real Prop., 510 U.S. 43, 49–50

(1993) (quoting Soldal, 506 U.S. at 70) (“[T]he seizure of property implicates two ‘explicit

textual source[s] of constitutional protection,’ the Fourth Amendment and the Fifth. The proper

question is not which Amendment controls but whether either Amendment is violated.”); Lavan,

693 F.3d at 1030 (“[B]y seizing and destroying Appellees’ unabandoned legal papers, shelters,

and personal effects, the City meaningfully interfered with Appellees’ possessory interests in that

property. No more is necessary to trigger the Fourth Amendment’s reasonableness

requirement.”).

       Even assuming sufficient notice and outreach could cure such deficiencies (and they

cannot), the District’s notice and outreach requirements are wholly inadequate to do so. The

Protocol’s notice and outreach provisions require signs to be posted fourteen days before a




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standard disposition, signs to be updated within 48 hours if a standard disposition is rescheduled,

and in-person outreach to make clear that the only way for individuals to keep their belongings is

to remove them prior to the clearing.4 2019 Protocol at 5 (Pastan Decl. Ex. 1). These

requirements are not reasonably certain to ensure that property owners receive actual notice of an

encampment clearing or its consequences.

          Homeless individuals are not always present at an encampment site, cannot comprehend

the District’s written notice, and have reasonable obligations that prevent them from being able

to move their belongings in time. See Mullane v. Central Hanover Bank & Trust Co., 339 U.S.

306, 315 (1950) (Constitutional Due Process requires a state to issue notice that is “reasonably

calculated, under all the circumstances” before it may deprive a citizen of her property); Padgett

Decl. Ex. 1, Dkt. 102-2 at 13–17; Padgett Dep. 66:22–71:10 (Pastan Decl. Ex. 7). District

officials themselves have confirmed that the Protocol has not prevented notices from being

vague and ambiguous, Pls.’ SUMF ¶ 19 nor has it ensured that outreach is consistent or targeted

at every homeless individual, id. ¶ 20.

          The Protocol’s departure from the Fourth Amendment is not justified by any legitimate

government interest. “In looking to the programmatic purpose,” a court “consider[s] all the

available evidence in order to determine the relevant primary purpose.” Ferguson v. City of

Charleston, 532 U.S. 67, 81 (2001). The Protocol’s stated purpose is to establish proper

procedures for discarding and protecting personal property and to help homeless individuals find

housing and address other needs. 2019 Protocol at 1 (Pastan Decl. Ex. 1). The District also

claims that the Protocol is intended to “address health and safety issues” and maintain clean

public spaces. See Dkt. 99-1, Def.’s SUMF #3. Even assuming these interests are legitimate, they


4
    There are no specified procedures or protections for an immediate disposition.


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cannot save this Protocol because the record is clear that the authorization of immediate

destruction of all unattended property does not further them.

       First, authorizing the destruction of all unattended property is antithetical to the goal of

establishing procedures for the proper discarding and protecting of personal property. If the

Protocol were aimed at serving this interest, it would provide guidelines on how to sort the

property found on public space, require documentation of what is destroyed versus stored, and

heed “the reality of residents’ lives, which often requires that residents leave their belongings

unattended for extended periods of time.” Padgett Decl. Ex. 1, Dkt. 102-2 at 11.

       But the amendments to the Protocol do nothing to address the District’s preparation of

only “terse and often cryptic cleanup reports, many of which do not state whether the District

had indicators of abandonment beyond the simple fact that property was unattended.” Proctor,

310 F. Supp. 3d at 115 n.4 (citing to a number of the District’s clearing logs); Jeong-Olson Dep.

97:18–20 (Pastan Decl. Ex. 5) (“So the item is abandoned or not is not the decision-making point

for me as an encampment coordinator.”); see also Williams Dep. 42:10–13, 43:21–45:3 (Pastan

Decl. Ex. 9) (noting that abandonment determinations are not documented). Rather, the 2019

Protocol clearly states that the District will not sort belongings to identify items of value. 2019

Protocol at 8 (Pastan Decl. Ex. 1) (“District officials will not sort through piles or collections of

belongings”). Because the Protocol’s focus is on empowering District officials to dispose of

property rather than establishing safeguards for the protection of property, the District cannot

rely on this purpose to depart from Fourth Amendment requirements.

       Second, a broad authorization to destroy all unattended property is not “well designed” to

help homeless individuals find housing or address other needs. Chandler v. Miller, 520 U.S. 305,

319–20 (1997). The District has admitted that the Protocol’s encampment clearing procedures




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are not intended to help people secure housing. Pls.’ SUMF ¶ 18. Additionally, Dr. Padgett’s

expert report and testimony from District witnesses establish that the Protocol’s terms are

“inconsistent with a policy that supports encampment residents and their transition to affordable

housing.” Padgett Decl. Ex. 1, Dkt. 102-2 at 10, 18. The District’s interest in providing housing

to individuals experiencing homelessness cannot justify the Protocol’s unconstitutional

destruction of encampment residents’ property.

        Third, any legitimate interest the District has to manage health and safety risks cannot be

used as pretext to grant itself unlimited discretion to destroy any and all belongings on public

spaces, especially when the District has not presented “any indication of a concrete danger

demanding departure from the Fourth Amendment’s main rule.” Chandler, 520 U.S. at 318–19.

The District already has the ability to clear property that poses an imminent health or safety risk

under its immediate disposition procedures. “Nothing in the record hints that the hazards [it]

broadly describe[s] are real and not simply hypothetical” in the case of a standard disposition as

well. Id. at 319.

        The District points to “no evidence of a [health or safety] problem” requiring it to

significantly intrude on Fourth Amendment rights in its execution of the standard disposition

procedures of the Protocol, or that the standard disposition provisions of the Protocol were

enacted “in response to any” such hazards. Id. at 319, 321–22. There is no reason the District

cannot take “ordinary law enforcement methods” to address real health and safety risks” in the

case of a scheduled clearing. Id. at 321.

        Even recognizing that personal property on public space can present health and safety

risks, the District must do more than simply allege an abstract, symbolic harm to justify such a




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significant intrusion on Fourth Amendment rights. Id. at 322 (The “Fourth Amendment shields

society against . . . state action” for “a symbol’s sake.”).

II.     The District’s 2019 Protocol Violates the Fifth Amendment.

        The Protocol is unconstitutional under the Fifth Amendment because it authorizes total

deprivation of Plaintiffs’ property interests without providing sufficient notice or an opportunity

to be heard. The risk of erroneous deprivation is significant given the 2019 Protocol’s grant of

total discretion to District officials to immediately destroy all unattended property during a

clearing. The minimal notice required by the 2019 Protocol is hardly reasonably certain to ensure

that all property owners will be informed before the destruction, and there is otherwise no

opportunity to be heard before such destruction. The Protocol’s previous procedures to store at

least some property has been eviscerated and replaced in the 2019 Protocol with only a

requirement that the District officials only make “reasonable efforts” to decide, at their

discretion, what to store. Pls.’ SUMF ¶13. Neither the pre-deprivation nor post-deprivation

remedies are adequate to justify the minimal notice and complete lack of any meaningful

opportunity to be heard. The 2019 Protocol fails to provide adequate procedural due process on

its face.

        “The Fifth Amendment’s Due Process Clause prohibits the District of Columbia from

depriving persons of ‘property, without due process of law.’” Wash. Legal Clinic for the

Homeless v. Barry, 107 F.3d 32, 36 (D.C. Cir. 1997) (quoting U.S. Const. amend. V). “The

essence of due process is the requirement that ‘a person in jeopardy of serious loss [be given]

notice of the case against him and opportunity to meet it.’” Mathews v. Eldridge, 424 U.S. 319,

348 (1976) (quoting Joint Anti-Fascist Comm. v. McGrath, 341 U.S. 123,171–72 (1951)). Due

process therefore “requires, at minimum, that the government provide notice and some kind of

hearing before final deprivation of a property interest,” and the notice provided must be


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‘reasonably certain to inform those affected.’” Propert v. District of Columbia, 948 F.2d 1327,

1331 (D.C. Cir. 1991) (quoting Mullane, 339 U.S. at 315).

       “The precise form of notice and the precise kind of hearing required depends upon a

balancing of the . . . Mathews factors: (1) the private interest affected by the government action;

(2) the risk of erroneous deprivation and the value of additional safeguards; and (3) the

government’s interest, including the fiscal and financial burdens that additional or substitute

procedural requirements would entail.” Id. at 1332. A plaintiff can raise a facial challenge under

the Fifth Amendment to a government policy that lacks such “procedural” due process. See

United States v. Salerno, 481 U.S. 739, 745–46 (1987); Daskalea v. Wash. Humane Soc’y, 480 F.

Supp. 2d 16, 34–35 (D.D.C. 2007).5

       As discussed supra, the only notice required by the 2019 Protocol before all of an

encampment residents’ property may be destroyed are signs posted fourteen days before a

clearing. 2019 Protocol at 5 (Pastan Decl. Ex. 1). Although the Protocol promises outreach

efforts, there are no guidelines regarding the content of such outreach or requirements for how

much outreach is sufficient prior to destruction. Pls.’ SUMF ¶ 20. The Protocol also does not

require any procedures beyond “reasonable efforts” to store property at the District’s discretion

or afford property owners any opportunity to be heard before destruction. Pls.’ SUMF ¶ 13.

Applying the Mathews balancing test, the 2019 Protocol lacks procedural due process because it

authorizes significant and irreversible deprivation of property without sufficient notice or a




5
 In Salerno, the U.S. Supreme Court applied the standard that to prevail on a facial challenge
“no set of circumstances exists under which the Act would be valid.” 481 U.S. at 745. As
discussed supra Part I, the Court recently clarified that this standard must consider “only
applications of the statute in which it actually authorizes or prohibits conduct,” not all possible
conduct for which the statute would be irrelevant. Patel, 135 S. Ct. at 2451 (expressly quoting
and clarifying the standard stated in Salerno).


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reasonable opportunity to be heard. A facial challenge is appropriate because this flaw applies to

every application of the 2019 Protocol—that is, every instance in which unattended but not

abandoned property is destroyed.

       The District rightly conceded in its motion for summary judgment, Dkt. No. 99 (quoting

Sullivan v. City of Berkeley, 383 F. Supp. 3d 976, 987 (N.D. Cal. 2019)), that Plaintiffs have a

protected property interest and waived any argument about the administrative burdens of

providing additional or substitute procedural requirements. See Bd. of Regents of Univ. of Wash.

v. E.P.A., 86 F.3d 1214, 1221 (D.C. Cir. 1996). Plaintiffs have a protected property interest in

their belongings under D.C. law, see Wash. Legal Clinic for the Homeless, 107 F.3d at 36, and

the District has failed to show any additional, material burdens to providing a more adequate

process, see Propert, 948 F.2d at 1335.6 The primary question is therefore whether the District’s

Protocol sufficiently guards against the risk of erroneous deprivation so as not to require more

notice or an opportunity to be heard. It does not.

       In order to determine whether a city’s ordinance establishing procedures for the

destruction of personal property creates a high risk of erroneous deprivation, a court considers

(1) whether there are sufficient notice requirements and procedures to ensure that all potential

property owners are informed before destruction of seized property; (2) whether there are

guidelines to conduct a “good faith effort” of locating property owners; and (3) whether there are

any additional procedural safeguards before destruction. Matthias v. Bingley, 906 F.2d 1047,

1051–53 (5th Cir.), opinion modified on denial of reh’g, 915 F.2d 946 (5th Cir. 1990).




6
 The District has indicated that it has the ability and resources to store more unattended
property. Pls.’ SUMF ¶ 21.


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       The Protocol fails in each regard. See Lavan, 693 F.3d at 1031–33 (finding a Due Process

violation when the city “failed utterly to provide any meaningful opportunity to be heard before

or after it seized and destroyed property belonging to” a group of homeless individuals); Kincaid,

2006 WL 3542732, at *38 (“The City’s process, or lack thereof, creates not just the risk, but the

certainty of erroneous deprivation. The City could reasonably provide a more effective process

that would reduce the likelihood of erroneous deprivation.”).

       First, the Protocol’s requirements to post signs and conduct general outreach at most

codifies a good faith effort to notify individuals in the surrounding area of a clearing, but there

are no requirements for any systematic notification to reach a broader population of potential

“lawful” property owners and to ensure that such owners are actually notified. See Matthias, 906

F.2d at 1052 (“City Ordinance 34-31 creates a high risk of erroneous deprivation because it

instructs police officers to notify only ‘lawful owners’ of property in police custody. It does not

instruct officers to notify other persons with colorable claims to the property.”) (emphasis in

original); id. (“City Ordinance 34-31 creates a high risk of erroneous deprivation because it does

not require notification but instead only requires officers to make a ‘good faith effort’ to identify,

locate, and notify ‘lawful owners.’”) (emphasis in original).

       As discussed supra, the District’s Protocol fails to address the fact that many signs are

misleading and confusing to encampment residents, and offers no protections to ensure a

reasonable certainty that encampment residents are notified before a clearing either through

notice or outreach efforts. Pls.’ SUMF ¶¶ 19–20. Moreover, the reasonableness of the District’s

signage must be assessed in the context of the affected population and the fact that the District

conducts nearly a hundred clearings a year (nearly one every three days); individuals

experiencing homelessness are focused on meeting daily needs for survival, may be less likely to




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be able to read and understand the District’s signage, and cannot be expected to read innocuous-

looking signs all over the city to determine whether their belongings are subject to destruction.

See Padgett Decl. Ex. 1, Dkt. 102-2 at 13–16.

        Second, there are no guidelines under the Protocol to determine when District officials

have completed adequate notice or outreach procedures, or how officials can determine whether

property is abandoned, hazardous, or otherwise appropriate for destruction. See Matthias, 906

F.2d at 1052 (“City Ordinance 34-31 creates a high risk of erroneous deprivation because it

neither establishes nor incorporates any guidelines for satisfying its ‘good faith’ requirement or

for identifying and locating ‘lawful owners.’ The ordinance allows each officer to decide when

she has satisfied the good faith requirement. Nothing in the system checks the officer’s

determination that she cannot notify the owner or need not notify persons with colorable

claims.”).

        Beyond the signage requirements, the 2019 Protocol affords District officials full

discretion to determine when it has conducted sufficient notice, if and how they conduct any

outreach, and when unattended property at a clearing has been abandoned. Pls.’ SUMF ¶ 20.

There is no limitation, for instance, that District officials can only immediately destroy property

that clearly poses a health or safety risk.7 Cf. Calero-Toledo v. Pearson Yacht Leasing Co., 416

U.S. 663, 679 (1974) (“[D]ue process is not denied when postponement of notice and hearing is

necessary to protect the public from contaminated food; from a bank failure; or from misbranded

drugs; or to aid the collection of taxes; or the war effort.” (citations omitted)).


7
  The District already has discretion to immediately destroy such property under the “Immediate
Disposition” procedures. The “Standard Disposition” procedures authorize District officials to
destroy any property during a clearing as long as the District has posted notices and made
informal outreach efforts fourteen days before the clearing. Compare 2019 Protocol at 4–9, with
id. at 9–10 (Pastan Decl. Ex. 1).


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       Nor are there any procedural safeguards to give more time or a hearing for individuals

who want to claim those belongings (e.g., they were absent because they were at work or in the

case of an emergency). Matthias, 906 F.2d at 1052–53 (“Additional procedural safeguards such

as requiring officers to notify all persons with colorable claims to the property, including those

from whom the officers seize the property, would give those persons an opportunity to establish

their property interests and to recover their property before the City disposes of it.”).

       The Protocol only provides fourteen days for homeless persons to totally evacuate, which

requires individuals with nowhere else to go to move their entire living spaces, and still leaves

room for the District to determine that an “emergency or other circumstance” could exist to

require “the immediate removal of the property.” 2019 Protocol at 6 (Pastan Decl. Ex. 1). The

2019 Protocol also removes previous language providing an additional safeguard in the case of a

stale notice: “Twenty-eight (28) days after it is posted, the Initial Notice becomes invalid and

must be reposted to effectuate another cleanup.” 2016 Protocol at 6 (Pastan Decl. Ex. 2). Now, in

the case of a rescheduled cleanup, the District can essentially change the cleanup date with only

48 hours of notice. The 2019 Protocol also provides an exception for this 48-hour notice for

immediate dispositions presumably involving property that clearly poses a health or safety risk, a

determination made at the complete discretion of District officials.

       Third, post-deprivation remedies cannot and do not save these deficient practices. An

“unauthorized intentional deprivation of property by a state employee does not constitute a

violation of the procedural requirements of the Due Process Clause” if pre-deprivation process is

“impracticable,” and “a meaningful postdeprivation remedy for the loss is available.” Hudson v.

Palmer, 468 U.S. 517, 533 (1984).




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       Here, the deprivation of property is intentional, but it is not unauthorized. Rather, the

Protocol expressly authorizes the immediate destruction of all unattended property. Additionally,

as discussed above, pre-deprivation process is not impracticable: the District could provide

clearer guidance both to its District officials and to homeless individuals about what belongings

will be stored or destroyed. The District has conceded that it is capable of storing more items.

Pls.’ SUMF ¶ 21 . But even if post-deprivation remedies are relevant here, they are neither

meaningful nor adequate. The Protocol does not provide any guarantee that any items will be

stored, leaving those decisions to District officials with subjective guidelines prone to arbitrary

decision-making. Indeed, the record shows that the District rarely stores any belongings. Pls.’

SUMF ¶ 22.

III.   The District’s Policy of Destroying Unattended Property Under the Protocol Is
       Actionable Under Section 1983.

       Plaintiffs have demonstrated that the District’s official municipal policy, as codified in

the December 13, 2019 Protocol, granting District officials unlimited discretion to destroy all

unattended belongings during an encampment clearing, violates the Fourth and Fifth

Amendments of the U.S. Constitution.

       A municipal government is liable under Section 1983 for any actions taken pursuant to

official municipal policy that causes injury. Connick v. Thompson, 563 U.S. 51, 60 (2011) (citing

Monell v. Dept. of Soc. Servs., 436 U.S. 658, 692 (1978)). To demonstrate municipal liability, a

plaintiff must satisfy a two-pronged test. Baker v. District of Columbia, 326 F.3d 1302, 1306

(D.C. Cir. 2003) (citing Collins v. City of Harker Heights, 503 U.S. 115, 124 (1992)). First, the

plaintiff must state a claim for the predicate constitutional violation. Id. at 1306. Second, the

plaintiff must demonstrate the policy or custom that caused the constitutional violation. Id.

(citing Monell, 436 U.S. at 694). The policy must have an “affirmative link” to the violation such



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that it is the “moving force” behind the constitutional violation. Id.; accord Miango v.

Democratic Republic of the Congo, 243 F. Supp. 3d 113, 125–26 (D.D.C. 2017). The actionable

municipal policy may be established, among other things, by “the explicit setting of a policy by

the government that violates the Constitution.” Baker, 326 F.3d at 1306.

       Plaintiffs have satisfied that burden here. As explained above, Plaintiffs have pointed to

undisputed facts that state a claim for two predicate constitutional violations—of the Fourth and

Fifth Amendments—caused by the District’s encampment clearing policy or custom. Each of

those violations has an “affirmative link” to “the explicit setting of a policy” in the form of the

2019 Protocol. The District is therefore liable under Section 1983 for the adoption and

implementation of the facially unconstitutional 2019 Protocol.

                                          CONCLUSION

       For the foregoing reasons, the Court should grant Plaintiffs’ Cross-Motion for Summary

Judgment declaring the District’s Protocol unconstitutional and enjoining its enforcement.



Dated: April 17, 2020                                 Respectfully submitted,


                                                      /s/ Victor D. Ban

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